                 Case 2:15-cr-00176-TLN Document 123 Filed 03/06/17 Page 1 of 3



 1   PHILLIP A. TALBERT
     United States Attorney
 2   ANDRĖ M. ESPINOSA
     ROSANNE RUST
 3   Assistant U. S. Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, CA 95814
     Telephone: (916) 554-2700
 5

 6

 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             2:15-CR-00176-TLN
12                   Plaintiff,
                                                           PRELIMINARY ORDER OF
13          v.                                             FORFEITURE
14   SEQUOIA VALVERDE, and
     VITHIYA TIM,
15
                     Defendants.
16

17          Based upon the plea agreements entered into between plaintiff United States of America and

18 defendants Vithiya Tim and Sequoia Valverde, it is hereby ORDERED, ADJUDGED AND DECREED as

19 follows:
20          1.       Pursuant to 18 U.S.C. § 982(a)(2)(B) and 1029(c)(1)(C), defendants Vithiya Tim and

21 Sequoia Valverde’s interest in the following property shall be condemned and forfeited to the United

22 States of America, to be disposed of according to law:

23                   a.      Metro PCS/Huawei Model M931 cellular phone, black with a cracked screen, serial
                             number: F4G29D1342417146;
24                   b.      Acer Chromebook computer, serial number: nxsheaa002416002597600;
                     c.      Kyocera cellular phone, serial number: v65c5133;
25                   d.      Samsung cellular phone, serial number: r31d20evfde;
                     e.      AT&T cellular phone, serial number: 327b414247a;
26                   f.      Samsung galaxy cellular phone, serial number: r38f206jr1e;
                     g.      iPad tablet computer, serial number: dlxmq7mcfk11;
27                   h.      Acer laptop computer, serial number: nxm2haa007236006e0160;
                     i.      Dell laptop computer, serial number: 13661154469;
28                   j.      Epson printer, serial number: sn5y092386;
                                                            1
29                                                                                     Preliminary Order of Forfeiture


30
                 Case 2:15-cr-00176-TLN Document 123 Filed 03/06/17 Page 2 of 3


                     k.     Samsung printer, serial number: zevpb8kf4c00qsf;
 1                   l.     Credit card reader/writer MSR606 (serial number not visible);
                     m.     iPhone cellular phone, model a1533, serial number: imei013988002936855;
 2                   n.     Lenova computer, serial number: cp22490519;
                     o.     Asus computer, serial number: esn0bc225782227;
 3                   p.     iPhone cellular phone, serial number: bcge2642a;
                     q.     HP all in one personal computer, serial number: 3cr3430fd8;
 4                   r.     Samsung tablet computer, serial number: r52f6022tdf;
                     s.     iPhone cellular phone, black, serial number: bcga1241;
 5                   t.     Acer computer, serial number: nxmnzaa0044200312b3400;
                     u.     iPad tablet computer, serial number: f4qmvb6zflmq;
 6                   v.     LG tablet znfv410;
                     w.     Samsung galaxy S5 cellular phone, serial number: r38f40yxmkr;
 7                   x.     Nokia phone, serial number: 353045061498448;
                     y.     Samsung tablet computer, rf2f210rvry;
 8                   z.     Acer computer, serial number: nxmkeaa001416036ff7600;
                     aa.    HP laptop computer, serial number: cnu63326pn;
 9                   bb.    iPod touch device, serial number: ccqn3ac7fmjf;
                     cc.    iPod device, serial number: ccqmx2dxfmjf;
10                   dd.    Lexmark printer/copier, serial number: 15450911645;
                     ee.    iPhone 4 cellular phone, white and cracked on front and back, with a white and pink
11                          case, serial number not recorded;
                     ff.    iPhone cellular phone with cracked back plate and Mophie battery pack, serial
12                          number not recorded;
                     gg.    Numerous credit cards, gift cards, access devices and financial and personal
13                          documents belonging to others and used in the scheme to defraud;
                     hh.    The value, i.e., balance of funds, in each of the seized pre-paid gift cards debit
14                          cards.
15          2.       The above-listed property constitutes or is derived from proceeds obtained directly or

16 indirectly, as a result of a violation of 18 U.S.C. § 1029(b)(2) or was property used or intended to be used

17 to commit a violation of 18 U.S.C. § 1029(b)(2).

18          3.       Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

19 seize the above-listed property. The aforementioned property shall be seized and held by the U.S.
20 Marshals Service, in its secure custody and control.

21          4.       a.     Pursuant to 18 U.S.C. §§ 982(b)(1) and 1029(c)(2), incorporated by 21 U.S.C. §

22 853(n), and Local Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this

23 Order and notice of the Attorney General’s (or a designee’s) intent to dispose of the property in such

24 manner as the Attorney General may direct shall be posted for at least 30 consecutive days on the official

25 internet government forfeiture site www.forfeiture.gov. The United States may also, to the extent
26 practicable, provide direct written notice to any person known to have alleged an interest in the property

27 that is the subject of the order of forfeiture as a substitute for published notice as to those persons so

28 notified.
                                                           2
29                                                                                        Preliminary Order of Forfeiture


30
                 Case 2:15-cr-00176-TLN Document 123 Filed 03/06/17 Page 3 of 3



 1                   b.      This notice shall state that any person, other than the defendants, asserting a legal

 2 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

 3 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

 4 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

 5          5.       If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

 6 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 982(a)(2)(B) and 1029(c)(1)(C), in which all

 7 interests will be addressed.

 8          SO ORDERED this 6th day of March, 2017.

 9

10

11                                                                     Troy L. Nunley
                                                                       United States District Judge
12

13

14

15

16

17

18

19
20

21

22

23

24

25
26

27

28
                                                             3
29                                                                                           Preliminary Order of Forfeiture


30
